                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:03CR4

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
PHILIP TYRONE MORRISON (20),        )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s “Ex Parte Motion to Obtain Copy of

Presentence Investigation Report,” filed August 1, 2005.

       Defendant, through counsel, seeks authorization for release of certain non-public

materials in order to better prosecute his appeal before the United States Court of Appeals for the

Fourth Circuit. Upon a showing of good cause, the Motion will be granted. However, Defendant

and his counsel are instructed that the Pre-Sentence Report is being disclosed for the sole

purpose identified within the instant motion and this Order. Upon the conclusion of Defendant’s

appeal before the Fourth Circuit Court of Appeals, the Pre-Sentence Report should either be

retained in counsel’s files or destroyed.

       IT IS, THEREFORE, ORDERED THAT Defendant’s “Ex Parte Motion to Obtain

Copy of Presentence Investigation Report” is hereby GRANTED. Accordingly, United States

Probation is authorized to release a copy of Defendant Morrison’s Pre-Sentence Report to

Attorney William E. Loose.

       The Clerk is directed to forward a copy of the Motion and this Order to the Defendant’s

attorney, United States Attorney, and United States Probation Department.




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                         Signed: August 5, 2005




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